Case1:07-cv-03217-RJH Document 10 Filed 05/30/2007 Page 1 013

AO 440 (Rev. 10)'93} Sumrnons in a Civtl Aclion - SDNY WEB 4f99

United States District Court

S()UTHERN DISTR]CT OF NEW YORK

AEROTEL, LTD., et al,

P'a"“'ffs’ SUMMONS IN A CIVIL CASE

V. CASE NUMBER‘,

AT&T, lNC., et al.
Defendants.

07 tv 3€:‘£;§7

TOI [Nan\e and address of defendan‘l)

SEE ATTACHED RlDE|R

YOU ARE HEREBY SUMMONED and required 10 Serve UpOrt F’LA|NTlFF'S ATTORNEY (narne and address)

Robert C. Morgan

Jeanne C. Curtis

RO?ES 81 GRAY LLP

1211 Avenue ol the Americas
New York, NY 10036»8704

Glenn F. Oslrager

Dennis M. F|aherty

OSTRAGER CHONG FLAHEFZTY
& BROITMAN P.C,

570 Lexington Avenue

New York, NY 1002245894

an answer to the complaint which is herewith Sewed upon you, within TWENTY (7-0) days after service of this
summons upon youl exclusive of the day of service |f you fail to do sol judgment by default will be taken against you lor

the relief demanded in the complaint_ You must also tile your answer with the Clerk of this Court within a reasonable period
of lime after service

J. MICHAEL McMAHON

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lAPR 2 0 2007

 

DAT E

   

Case 1 :07-ov-03217-RJH Document 10

Filed 05/30/2007

Aerotel, Ltd., er al. v. AT&T, lnc. et a!.

U.S. District Coun for the Southem Distn`ct ofNew York

RIDER TO SUMMONS IN A CIVIL CASE

AT&T Inc.
175 E. Houston
San Antonr`o, Texas 78205-2233

AT&T Corp.
One AT&T Way
Bednu`nster, New .lersey 07921

AT&T Mobility Corporatton
5565 Glenridge Connector, Suite 1800
Atlanm, Georgia 30342

AT&T Mobtticy LLC
5565 Glenridgc Connector, Sultc 1800
Atlanta, Georgia 30342

New Cingular WireIess Services, lnc.
5565 Glenridge Connector, Suite 1800,
At[anta, Georgia 30342

Ctngular Wireless ll, LLC
5565 Glenn`dge Connector, Suite 1800
Atlanta, Gcorgia 30342

New Cingular Wireless PCS, LLC
5565 Glenn`dge Connector, Suite 1800
Atlanta, Georgia 30342

BellSouth Mobility DCS, Inc.
5565 Glcnridge Conneeror, Suite 1800
Atlanta, Georgia 30342

BellSouth Corporation
1155 Peachtree Street, N.E.
Atlanta, Gcorgia 30309

BellSouth Teleeonununjcations, Ine.
675 West Peach tree Street, N.}E.` Suite 4500
Atlanta, Georgia 30308

John Doe l
address unknown

John Doe 2
address unknown

_lohn Doe 3
address unknown

John Doe 4
address tulknown

John Doe 5
address unknown

John Doe 6
address unknown

.lohn Doe 7
address unknown

John Doe 8
address unknown

John Doe 9
address unknown

John Doe 10
address unknown

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7 AO 440 Rev, 10193) Surnmnns ln a C`lvi Ac‘tion -SDNY W'EB 4199

RETURN OF SERV|C:E

 

 

DATE
Service of the Summons rend Complaint was made by me1 May 3 ' 200 7 @ 1 1 : 3 SEm
NAME oF sERveR {PRan TrrLE

Don Edwards

 

Private Process Server

 

Check one box below to indicate ap@pnate method of service

 

l::\ Served personally upon the defendant. Place where served:

 

 

E Left copies thereof at the defendants dwelling house or usual place of abode with a person of suitable age and

discret|on then residing therein
Name of person with whom the summons and complaint were left

_ _ _ 7 a

l::l Relurned uncxe<;uted; _

 

 

 

 

 

O\g%,éséjec, : New Cingular Wireless Services, Inc.

 

G enrldge Connecfor, Sfe |800,

 

Atranta, GA

 

_by`Servlng DeborahrBrumfleld, Reglstered Agent

 

STATEMENT OF SERV|CE FEES

 

TRAVFL SERV|CES

 

TOTAL

 

 

DECLARAT|ON OF SER\»'E

R

 

 

| declare under penalty of perjury under the laws of the 'United ate-s 01 America that the foregoing

information contained in the Returri of Service and Statement of Se

May 3, 2007

Executed on

/l
Date /Sr;ét'ure of Server

 
    

' Fees is true and ct.

 

Mdress d Server

r a r_£-GAL sent/rees r:::‘.
. du Presidemiai Pkwy '
n Smw148
anta, Georgia 30340

V.i .!Hl_lf,')I/'. clll¢' §?_` }IUZ .

 

(1) As lo who may serve a surrroons sea Ru|e 4 of the Federa\ Rutes of C`Nil F*rooedure.

 

 

